   21-50426-rbk Doc#16 Filed 05/14/21 Entered 05/14/21 10:06:41 Ntc/Hrg BK intp/allcr Pg
                                         1 of 1
                      UNITED STATES BANKRUPTCY COURT
                             Western District of Texas

                                                                Bankruptcy Case
                                                                                21−50426−rbk
                                                                           No.:
                                                                   Chapter No.: 7
                                                                         Judge: Ronald B. King
IN RE: CQ Restaurants LLC DBA Planet Sub ,
Debtor(s)




                                        NOTICE OF HEARING

PLEASE TAKE NOTICE that a hearing will be held

     at   VIA PHONE:(650)479−3207; AC 160−686−6761

     on   6/8/21 at 09:30 AM

     TELEPHONIC Hearing to Consider and Act Upon the Following: DIAL IN INFORMATION IS AS
     FOLLOWS: (650) 479−3207 Access Code 160−686−6761 (1) IF TIME ESTIMATE EXCEEDS 20
     MINUTES OR (2) IF EXHIBITS WILL BE OFFERED PLEASE CONTACT DEANNA CASTLEBERRY
     @ deanna_Castleberry@txwb.uscourts.gov (Related Document(s): 15 Motion to Vacate Dismissal Order filed
     by Edward L Bravenec for Debtor CQ Restaurants LLC DBA Planet Sub (Bravenec, Edward) (Related
     Document(s): 14 Order Dismissing Case For Failure to File the Declaration for Electronic Filing (related
     document(s): 1 Voluntary Petition under Chapter 11 (Non−Individual) Subchapter V Without Schedules,
     Without Statement of Financial Affairs, With Attorney Disclosure of Compensation Filed By CQ restaurants
     LLC DBA Planet Sub. −Declaration for Electronic Filing due by 04/16/2021 Chapter 11 Plan Small Business
     Subchapter V Due by 07/8/2021.) (Order entered on 5/13/2021)) Hearing Scheduled For 6/8/2021 at 9:30 AM
     at VIA TELEPHONE−Conference Dial−In Number: (650)479−3207; Access Code: 160−686−6761
     (Castleberry, Deanna)


Dated: 5/14/21
                                                          Barry D. Knight
                                                          Clerk, U. S. Bankruptcy Court




                                                                                          [Hearing Notice (BK)] [NtchrgBKapac]
